
286 Wis.2d 137 (2005)
2005 WI 155
705 N.W.2d 876
IN the MATTER OF DISCIPLINARY PROCEEDINGS AGAINST David L. DENHARTIGH, Attorney at Law:
OFFICE OF LAWYER REGULATION, Complainant,
v.
David L. DENHARTIGH, Respondent.
2005AP2051-D.
Supreme Court of Wisconsin.
Decided November 11, 2005.
The Court entered the following order on this date:
On August 10, 2005, the Office of Lawyer Regulation (OLR) filed a disciplinary complaint against Attorney *138 David L. DenHartigh asking this court to impose reciprocal discipline identical to that imposed on Attorney DenHartigh in the Oregon Supreme Court. That court suspended Attorney DenHartigh's law license for 90 days, effective July 1, 2005. On August 12, 2005, this court issued an order to show cause directing Attorney DenHartigh to show cause in writing by August 31, 2005 why the imposition of the identical discipline imposed by the Oregon Supreme Court would be unwarranted. Attorney DenHartigh failed to respond to the order to show cause.
Attorney DenHartigh was admitted to practice law in Wisconsin on November 23, 1982 and he became licensed to practice law in Oregon on April 26, 1991.
The 90-day suspension in Oregon resulted from neglecting a legal matter entrusted to the lawyer, failing to carry out a contract of employment entered into with a client for professional services, failing to maintain client funds in trust, and failing to maintain complete records of all funds, securities, and other properties of a client coming into the possession of the lawyer and render appropriate accounts to the lawyer's client regarding them in violation of the Oregon Code of Professional Responsibility.
SCR 22.22(3) provides that this court shall impose the identical discipline or license suspension unless the procedure in the other jurisdiction was so lacking in notice or opportunity to be heard as to constitute a due process violation; there was such an infirmity of proof establishing the misconduct that this court should not accept as final the misconduct finding; or the misconduct justifies substantially different discipline here. Neither OLR nor Attorney DenHartigh contend, nor does this court find, that any of these three exceptions exist.
*139 Accordingly,
IT IS ORDERED that the license of David L. DenHartigh to practice law in the State of Wisconsin be suspended for 90 days, effective the date of this order;
IT IS FURTHER ORDERED that Attorney DenHartigh shall comply, if he has not already done so, with the requirements of SCR 22.26 pertaining to activities following suspension.
*140 
